       Case: 1:19-cv-07904 Document #: 26 Filed: 06/18/20 Page 1 of 3 PageID #:71




                   IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

TYLUS ALLEN JR.,                           )
                                           )
                       Plaintiff,          )
                                           )
     v.                                    )                No. 19-cv-7904
                                           )
VILLAGE OF OAK LAWN POLICE                 )                Honorable Charles R. Norgle, Sr.
DETECTIVES S. HEILIG, M. MCNEELA, et. al., )
                                           )
                       Defendants.         )

          UNOPPOSED MOTION FOR LEAVE TO FILE ANSWER INSTANTER

        Defendant, JASON TUDRYN, by and through one of his attorneys, Julie M. Koerner,

respectfully moves the Court for leave to file instanter his Answer to Plaintiff’s Complaint. In

support thereof, Defendant states as follows:

        1.     On December 3, 2019, Plaintiff filed a Complaint seeking to recover damages for

a violation of his civil rights by Defendant Officers, pursuant to §1983, that is alleged to have

occurred on December 2, 2018. Complaint (ECF Doc. 1).

        2.     Defendant Turdryn was served with summons on January 23, 2020, which meant

that his responsive pleading was due on February 13, 2020. Verification of Service (ECF Doc.

10).

        3.     Through no fault of Officer Tudryn, who promptly provided notice of the lawsuit

and requesting a defense and indemnification to his employer, the City of Burbank, unknown

City employees delayed and/or misplaced the lawsuit prior to turning it over to the City’s insurer,

IPMG.

        4.     As of June 17, 2020, Officer Tudryn is now represented by counsel, has conferred

with same, and counsel is prepared to file a responsive pleading instanter.



                                            Page 1 of 3
     Case: 1:19-cv-07904 Document #: 26 Filed: 06/18/20 Page 2 of 3 PageID #:72




       5.      Movant contacted Plaintiff’s counsel, Jaclyn Diaz, who indicated that she has no

objection to the motion.

       6.      Pursuant to Federal Rule of Civil Procedure 6(b)(1)(B), counsel begs this Court’s

indulgence with the late filing.

       7.      No prejudice will result to the Plaintiff from this filing.

       Wherefore, Defendant, JASON TURDYN, respectfully requests that this Honorable

Court grant him leave to file his Answer instanter.



                                               Respectfully Submitted,

                                               TUDRYN,


                                       By:     S/ Julie M. Koerner
                                               Julie M. Koerner, #6204852
                                               O’Halloran Kosoff Geitner & Cook, LLC
                                               650 Dundee Road, Suite 475
                                               Northbrook, Illinois 60062
                                               Phone: 847/291-0200
                                               Email: jkoerner@okgc.com




                                             Page 2 of 3
     Case: 1:19-cv-07904 Document #: 26 Filed: 06/18/20 Page 3 of 3 PageID #:73




                   IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

TYLUS ALLEN JR.,                           )
                                           )
                       Plaintiff,          )
                                           )
     v.                                    )               No. 19-cv-7904
                                           )
VILLAGE OF OAK LAWN POLICE                 )               Honorable Charles R. Norgle, Sr.
DETECTIVES S. HEILIG, M. MCNEELA, et. al., )
                                           )
                       Defendants.         )

                               CERTIFICATE OF SERVICE

        I hereby certify that on June 18, 2020, I electronically filed Defendant Tudryn’s Motion
for Leave To File Answer Instanter with the Clerk of Court using the CM/ECF system, which
will send notification of such filing to the following:

                           Edward M. Fox – efox@efoxlaw.com
                             Jaclyn Diaz – jdiaz@efoxlaw.com
                      Thomas J. Condon, Jr. – tcondon@pjmchicago.com
                        Miguel E. Larios – mlarios@pjmchicago.com



                                            By:     s/Julie M. Koerner
                                                   Julie M. Koerner, #6204852
                                                   O’Halloran Kosoff Geitner & Cook, LLC
                                                   650 Dundee Road, Suite 475
                                                   Northbrook, Illinois 60062
                                                   Telephone: (847) 291-0200
                                                   Fax: (847) 291-9230
                                                   E-mail: jkoerner@okgc.com




                                          Page 3 of 3
